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UNITED srArEs oF AMERICA, CLER~‘&QF JS DISI er
W.D. et IN.-JACKSON

Plaintiff,
VS. No. 03-10071-T
J'OE DAVID SLOAN,

Defendant.

ORDER EXTENDING TIME FOR COMPLETION OF EVALUATION

Mr. Joe David Sloan arrived at the Federal Medical Center (FMC) Lexington,
Kentucky on April 14, 2005, for an examination and evaluation under Title 18 U.S.C. §§
4241 and 4242 pursuant to an order of this court on March 31, 2005. Due to a large number
of evaluations received at that facility and in order to allow the clinical Staff sufficient time
to conduct a thorough examination, FMC requests an extension of time to complete the
testing and examination necessary to develop ahistory, diagnosis, and opinion regarding both
the 4241 and 4242 questions For good cause shown, that extension of time is granted The
evaluation of Mr. Sloan should be completed by June 13 , 2005, and the evaluation report shall
be Sent out thereafter.

IT IS SO ORDERED.

QZ/)MZ.W

JA S D. TODD
UN ED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 130 in
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May 9, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

